Case 3:14-bk-34258                  Doc 40         Filed 11/30/17 Entered 11/30/17 19:07:11                                   Desc Main
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B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                                   Southern District of Ohio
                                            __________ District Of __________

In re ________________________________,
      Homer Sawyer                                                                                Case No. ________________
                                                                                                           14-34258
        LaDonna Lynn Sawyer




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.
U.S. Bank Trust National Association as Trustee of
American Homeowner Preservation Trust Series
                                                                            Granite Investment Group
2015A+
______________________________________                                      ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known): 2
should be sent:                                                             Amount of Claim: $126456.67
 C/O SN Servicing Corp.                                                     Date Claim Filed: 02/13/20/15
 323 5th Street
 Eureka, CA 95501

Phone: ______________________________
       800-603-0836                                                         Phone: 800-561-4567
Last Four Digits of Acct #: ______________
                            3264                                            Last Four Digits of Acct. #: __________
                                                                                                         3264


Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________
   /s/ Jody Lee                                                             Date:____________________________
                                                                                 11/30/2017
         Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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Case 3:14-bk-34258        Doc 40      Filed 11/30/17 Entered 11/30/17 19:07:11                   Desc Main
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   B2100B (Form 2100B) (12/15)

                       United States Bankruptcy Court
                       _______________
                       Southern        District Of _______________
                                                   Ohio


         Homer Sawyer
   In re ______________________________                     14-34258
                                                   Case No. ________________
         LaDonna Lynn Sawyer
         ______________________________
        ______________________________


        NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
               2
   Claim No. _____    (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
   alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
   Other than for Security in the clerk’s office of this court on ______
                                                                  11/30/2017 (date).




   Name of Alleged Transferor
    Granite Investment Group                                                   Name of Transferee
                                                                                U.S. Bank Trust National
                                                                                Association as Trustee of American
                                                                                Homeowner Preservation Trust
                                                                                Series 2015A+
   Address of Alleged Transferor:
   SN Servicing Corporation                                                    Address of Transferee:
   323 5th Street                                                               SN Servicing Corporation
   Eureka, CA 95501                                                             323 5th Street
                                                                                Eureka, CA 95501

                                 ~~DEADLINE TO OBJECT TO TRANSFER~~
   The alleged transferor of the claim is hereby notified that objections must be filed with the court
   within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
   court, the transferee will be substituted as the original claimant without further order of the court.




   Date:_________                                                ______________________________
                                                                   CLERK OF THE COURT
